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      AO 245D-CAED (Rev. 02/2018) Sheet 1 - Judgment in a Criminal Case for Revocation



                                    UNITED STATES DISTRICT COURT
                                                      Eastern District of California
                     UNITED STATES OF AMERICA                                       JUDGMENT IN A CRIMINAL CASE
                                                                                    (For Revocation of Probation or Supervised Release)
                                v.
                    MANUEL LORENZO BURCIAGA                                         Criminal Number: 1:06CR00269-001
                                                                                    Defendant's Attorney: Michael Berdinella, Appointed
      THE DEFENDANT:
             admitted guilt to violation of charge(s) 1 and 3 as alleged in the violation petition filed on 10/22/2019 .
             was found in violation of condition(s) of supervision as to charge(s)            after denial of guilt, as alleged in the violation petition
             filed on   .

      The defendant is adjudicated guilty of these violations:
      Violation Number                  Nature of Violation                                                            Date Violation Ended
       Charge 1                              FAILURE TO ALLOW PROBATION OFFICER TO VISIT                               September 26, 2019
       Charge 3                              FAILURE TO NOTIFY OF CHANGE IN RESIDENCE                                  October 5, 2019

       The court:        revokes:       modifies:        continues under same conditions of supervision heretofore ordered on 3/5/2018 .

             The defendant is sentenced as provided in pages 2 through 2 of this judgment. The sentence is imposed pursuant to the
      Sentencing Reform Act of 1984.

             Charge(s)     2 is/are dismissed. [X] APPEAL RIGHTS GIVEN.

              Any previously imposed criminal monetary penalties that remain unpaid shall remain in effect.

               It is ordered that the defendant shall notify the United States attorney for this district within 30 days of any change of name,
       residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If
       ordered to pay restitution, the defendant must notify the court and United States attorney of material changes in economic
       circumstances.
                                                                                   1/27/2020
                                                                                   Date of Imposition of Sentence
                                                                                   /s/ Lawrence J. O'Neill
                                                                                   Signature of Judicial Officer
                                                                                   Lawrence J. O'Neill, United States District Judge
                                                                                   Name & Title of Judicial Officer
                                                                                   1/31/2020
                                                                                   Date




http://apps.caed.circ9.dcn/CIRUser/Desktop/snapshot.aspx?redirect=judgment&tab=tpPleadingInfoRevoc                                                     1/31/2020
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      AO 245B-CAED (Rev. 02/2018) Sheet 2 - Imprisonment
      DEFENDANT: MANUEL LORENZO BURCIAGA                                                                                        Page 2 of 2
      CASE NUMBER: 1:06CR00269-001

                                                                 IMPRISONMENT

      The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total term of:
      60 Months.

            No TSR: Defendant shall cooperate in the collection of DNA.

            The court makes the following recommendations to the Bureau of Prisons:

            The defendant is remanded to the custody of the United States Marshal.

             The defendant shall surrender to the United States Marshal for this district
                    at     on     .
                    as notified by the United States Marshal.

             The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
                     before       on    .
                     as notified by the United States Marshal.
                     as notified by the Probation or Pretrial Services Officer.
             If no such institution has been designated, to the United States Marshal for this district.

                                                                       RETURN
      I have executed this judgment as follows:




              Defendant delivered on                                                        to
      at                                                   , with a certified copy of this judgment.



                                                                              United States Marshal


                                                                              By Deputy United States Marshal




http://apps.caed.circ9.dcn/CIRUser/Desktop/snapshot.aspx?redirect=judgment&tab=tpPleadingInfoRevoc                                     1/31/2020
